
*114OPINION.
Lansdon:
In support of his several contentions the petitioner testified at the hearing without introducing any documentary evidence or books other than the notice from the Amalgamated Oil Co. that no funds were available for distribution to owners of royalty interests at July 12, 1921. He testified that he made diligent efforts to ascertain the value of his royalty interest and made inquiries of the Oil Company and elsewhere, and that he ascertained that the lease had been abandoned and that his royalty interest was worthless. We are of the opinion that the petitioner properly deducted *115the cost of such interest from his gross income for the taxable year as a loss sustained in that year.
The losses sustained in the sale of the bonds of Los Angeles County and the stock of the B. H. Dyas Co. were sustained during the’'taxable year and were proper deductions from gross income. The amount of $1,500 erroneously deducted from gross income as amortization of war facilities can not be allowed as depreciation, since it is not supported by sufficient evidence. The evidence does not convince us that the petitioner is entitled to depreciation or loss oh his Cadillac car, and we therefore sustain.the Commissioner on that point. ’ "

Judgment will be entered on W days’ notice, under Buie 60.

